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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

KATHY GARNER and                                      )
LOULEE W. KARN,                                       )
                                                      )
        Plaintiffs,                                   )
                                                      )
v.                                                    )   CIVIL ACTION NO. 2:90cv688-MHT
                                                      )                  (WO)
G. D. SEARLE                                          )
PHARMACEUTICALS & CO.,                                )
                                                      )
        Defendants.                                   )

                                   MEMORANDUM OPINION

                                            I. Introduction

        On January 4, 2002, the court found in its liability opinion (doc. # 177) that the

plaintiff Kathy Garner (“Garner”) was sexually harassed and that because of her sex and in

retaliation for filing an EEOC complaint, she was subjected to disparate treatment with

regard to promotions, discipline, and discharge in violation of Title VII. (Doc. No. 177, p.

2.) The court also found that plaintiff Loulee W. Karn (“Karn”) was sexually harassed and

constructively discharged in violation of Title VII. (Id.) In addition, the court determined

that both Garner and Karn were paid less than male employees for equal work in violation

of the Equal Pay Act.1 (Id.) The court ordered that judgment be entered in favor of Garner

and Karn (“Karn”) and against defendant G.D. Searle Pharmaceuticals & Co (“Searle”).

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          The court also held that, “[s]ubject to the court’s additional finding, based on after-acquired
evidence, that Garner would have been discharged even in the absence of Searle’s discrimination, . . . Garner
and Karn are entitled to appropriate relief.” (Doc. No. 177, p. 2.)
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(Doc. No. 179.)       In addition, the court determined that, in the event the parties could not

reach an agreement on the issue of damages, the court itself would determine, after an

additional hearing, how much the plaintiffs should receive in damages. (Doc. No. 177, p.

128.)

        Thereafter, the parties filed a joint notice of consent to exercise jurisdiction to

determine remedies by the United States Magistrate Judge assigned to this case and motion

for limited reference. (doc. # 230) The District Judge then referred all outstanding issues,

other than liability, including the issues of the appropriate relief to be afforded the plaintiffs

and costs and attorneys’ fees, to the undersigned to conduct all proceedings and order the

entry of final judgment in accordance with 28 U.S.C. § 636 and FED.R.CIV.P. 73.2 (Doc. No.

232, p. 1.)

        On September 23, 2010, after completion of discovery and conclusion of an aborted

attempt to appeal by Searle, this court conducted an evidentiary hearing to determine

remedies. (Doc. No. 291.) The parties thereafter filed post-hearing briefs in support of their

positions. (Doc. Nos. 298, 299 & 302.) Upon consideration of the evidence presented and

the parties’ briefs and argument, the court concludes that the plaintiffs are entitled to an

award of both back pay and liquidated damages with respect to the Equal Pay Act claims, as

well as an award for back pay and other appropriate relief, including interest, with respect



        2
         The court specified in its order of reference that the Magistrate Judge does not have jurisdiction
to hear or decide liability issues or to alter, amend, or otherwise change the District Court’s findings,
judgment, or memorandum opinion and order set forth in document nos. 177-179. (Doc. No. 232, pp. 1-2.)

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to the Title VII claims.

                                              II. Discussion

        To be blunt, the court approaches the question of appropriate damages in this case

with some trepidation because at best this is an endeavor fraught with uncertainty. But any

problems related to that uncertainty are Searle’s to bear.

        We have recognized that “[t]rial courts and the parties themselves invariably
        lack perfect hindsight to forecast what would have happened had there been
        no unlawful acts.” Rodriguez v. Taylor, 569 F.2d 1231, 1238 (3d Cir.1977),
        cert. denied, 436 U.S. 913, 98 S.Ct. 2254, 56 L.Ed.2d 414 (1978);
        International Broth. of Teamsters v. United States, 431 U.S. 324, 372, 97 S.Ct.
        1843, 1873, 52 L.Ed.2d 396 (1977) (“process of recreating the past will
        necessarily involve a degree of approximation and imprecision”). We have
        concluded, however, that this “risk of lack of certainty with respect to
        projections of lost income must be borne by the wrongdoer, not the victim.”
        Goss v. Exxon Office Systems Co., 747 F.2d 885, 889 (3d Cir.1984) (citing
        Story Parchment Co. v. Paterson Paper Co., 282 U.S. 555, 51 S.Ct. 248, 75
        L.Ed. 544 (1931)); Mason v. Association for Independent Growth, 817 F.Supp.
        550, 555 (E.D.Pa.1993) (same).

Starceski v. Westinghouse Elec. Corp., 54 F.3d 1089, 1100-1101 (3d Cir. 1995).

                                            A. Equal Pay Act

        In its liability opinion the court found that Searle “showed reckless disregard for the

matter of whether its conduct was prohibited by the Equal Pay Act” and concluded that “a

three-year statute of limitations applies to the equal pay claims in this case.”3 (Doc. No. 177,

        3
         A finding that a defendant acted willfully for statute of limitations purposes precludes a finding that
the defendant acted in good faith for liquidated damages purposes. See Glenn v. Gen. Motors Corp., 841
F.2d 1567, 1573 n. 14 (11th Cir. 1988). Cf. Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 515 F.3d
1150, 1164 (11th Cir. 2008)(determining that a jury’s finding that defendants in FLSA case acted willfully
for purposes of the limitations period precluded judge from finding that defendants acted in good faith for
purposes of liquidated damages).


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pp. 116-117.) In addition, the court was

              convinced that Searle violated the provisions of the Equal Pay
              Act and paid Garner and Karn less than male sales
              representatives for equal work. As affected employees under
              the Equal Pay Act, Garner and Karn are entitled to recover the
              additional amount (subject to the court’s after-acquired evidence
              finding as to Garner) they should have received had they been
              paid equally. In addition, because the court is also convinced
              that Searle did not act in good faith, they are also entitled to
              liquidated damages in an amount equal to their compensation for
              underpayment. . . .

(Id., at 127-28.)

       Although the court determined that the plaintiffs are entitled to liquidated damages,

the plaintiffs argue that they should receive prejudgment interest without liquidated damages

with respect to their Equal Pay Act claims. Specifically, Garner asserts that she is entitled

to $45,273.84 in back pay during her employment between June 27, 1987, to January 31,

1990, based on the pay differential compared to James Gruber, plus interest through

September 23, 2010. (Doc. No. 298, p. 1.) Karn asserts that she is entitled to $47,632.05 in

back pay during her employment between December 22, 1987, and June 15, 1989, based on

the pay differential compared to Joe Gagliano, plus interest through September 23, 2010.

(Id., p. 2.) It is no surprise that the defendants, however, argue that prejudgment interest is

not permitted in Equal Pay Act cases.

       The Equal Pay Act of 1963 amended § 206 of the Fair Labor Standards Act (“FLSA”)

to prevent pay discrimination based on sex, and the FLSA’s statute of limitations and

liquidated damages provisions apply to Equal Pay Act claims. Perez v. Sanford-Orlando

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Kennel Club, Inc., 515 F.3d 1150, 1164 (11th Cir. 2008) (citing 29 U.S.C. §§ 206(d)(3),

216(b), 260). When an employer has violated the Equal Pay Act, the employer “shall be

liable to the employee or employees affected in the amount of their unpaid minimum wages,

or their unpaid overtime compensation, as the case may be, and in an additional equal amount

as liquidated damages.” 29 U.S.C. § 216(b). There is, however, a good faith defense, which

permits the court to reduce or deny an award of liquidated damages “if the employer shows

to the satisfaction of the court that the act or omission giving rise to such action was in good

faith and that he had reasonable grounds for believing that his act or omission was not a

violation” of the Equal Pay Act. See 29 U.S.C. § 260. The employer bears the burden of

establishing both the subjective and objective components of the good faith defense against

liquidated damages. See Perez, 515 F.3d at 1163.

       In this case, the court has determined the plaintiffs are entitled to recover the

additional amount they would have received had they been paid equally, as well as liquidated

damages in an amount equal to their underpayment. Because the court determined that Searle

failed to establish good faith, the plaintiffs are entitled to liquidated damages under 29 U.S.C.

§ 216(b). The plaintiffs, however, seek prejudgment interest without liquidated damages.

       Most courts will not award both liquidated damages and prejudgment interest. See

Brooklyn Bank v. O’Neil, 324 U.S. 697, 715 (1945). In this Circuit, a plaintiff may not

recover prejudgment interest in a private FLSA action. See Lindsey v. American Cast Iron




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Pipe Co., 810 F.2d 1094, 1101 (11th Cir. 1987)4; Townley v. Floyd & Beasley Transfer Co.,

Inc., No. 88-AR-0907-S, 1989 WL 205341, *3 (N.D. Ala. 1989) (“The law in this circuit is

clear that a successful FLSA plaintiff is not entitled to an award of pre-judgment interest.”).

Thus, the court concludes that the plaintiffs are not entitled to an award of prejudgment

interest under the Equal Pay Act. See Perez, supra. Consequently, this court must only

determine the additional amount the plaintiffs would have received had they been paid

equally.

        The court has wide discretion in fashioning a remedy. Jepsen v. Florida Bd of

Regents, 754 F.2d 924, 927 (11th Cir. 1985) (citing Albemarle Paper Co. v. Moody, 422 U.S.

405 (1975)). When determining whether the starting salaries of the plaintiffs were

comparable to their comparators, the court in its liability opinion found that the “best way .

. . is to compare the placement of Garner and Karn within the pay grade 3 salary range upon

their dates of hire.” (Doc. No. 177, p. 99-100.) With respect to the plaintiffs’ and their

comparators’ starting salaries, the court specifically determined that

                Garner received a starting salary of $28,500. This placed her
                $500 below the midpoint of the 1987 salary range for pay grade
                3. In contrast, Gruber and Swalley received starting salaries of
                $33,000. This placed them only $100 below the midpoint of the

        4
          The court, citing World Airlines v. Thurston, 469 U.S. 111 (1985), noted that liquidated damages
under the ADEA are different from those available under the FLSA. See Lindsey v. American Cast Iron Pipe
Co., 810 F.2d at 1102 (“ADEA liquidated damages awards punish and deter violators, while FLSA liquidated
damages merely compensate for damages that would be difficult to calculate. Therefore, awarding both
prejudgment interest and liquidated damages in an ADEA case does not constitute double compensation.”).
 See also Snapp v. Unlimited Concepts, Inc., 208 F.3d 928, 938-39 (11th Cir. 2000) (noting that, under the
FLSA, awards of damages are not punitive).


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              1990 salary range for pay grade 3. Thus, when comparing their
              relative placements within the applicable salary ranges, Garner
              was paid $400 less than Gruber and Swalley. Similarly, when
              Karn was hired in 1987, she received a starting salary of
              $32,000. This placed her $100 above the 3/4 mark in the salary
              range for pay grade 3 for that year. Therefore, when comparing
              their rank within the applicable salary range, Karn was paid
              $200 less than Gagliano

(Doc. No. 177, p. 100.) Thus, Garner’s starting salary was $400 less than Gruber’s starting

salary and Karn’s starting salary was $200 less than Gagliano’s starting salary.

       The evidentiary materials indicate that both the plaintiffs and their comparators for

purposes of the Equal Pay Act received merit raises. On March 1, 1988, Garner’s salary was

increased to $30,000, which continued until the date of her discharge on January 31, 1990.

This placed her $300 below the midpoint of the 1988 salary range for pay grade 3. (Trial

Record, Defendant’s Ex. 48.) On December 1, 1990, Gruber’s salary was increased to

$34,700. This placed him $1600 above the midpoint of the 1990 salary range for pay grade

3. (Id.) Thus, when comparing their relative placements within the applicable salary ranges,

Garner was paid $1700 less than Gruber.

       In December 1988, Karn received a promotion, increasing her salary to $36,000. This

placed her $650 below the midpoint of the 1990 salary range for pay grade 4. (Id.) On

September 1, 1990, Gagliano received a promotion, increasing his salary to $36,800. This

placed him $400 above the midpoint of the 1990 salary range. (Id.) Therefore, when

comparing their relative placements within the applicable salary ranges, Karn was paid $1050

less than Gagliano.

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        Based on the foregoing, the court concludes that the plaintiffs are entitled to an award

of damages in the amount they would have received had they been paid equally, as well as

liquidated damages in an amount equal to their compensation for underpayment. Garner is

entitled to an award of $2100, as this is the amount she would have received had she been

paid equally, as well as an additional amount of $2100 in liquidated damages. Therefore, the

court shall award Garner a total of $4200 in damages with respect to Garner’s Equal Pay Act

claim. Karn is entitled to an award of $1250, as this is the amount she would have received

had she been paid equally, as well as an additional amount of $1250 in liquidated damages.

Thus, the court shall award Karn a total of $2500 with respect to Karn’s Equal Pay Act claim.

                                       B. Title VII Liability

        The court determined in its liability opinion that both Garner and Karn are entitled to

back pay and other benefits they would have received absent the unlawful discrimination.5

(Doc. No. 177, p. 126-27.)            Title VII requires that a plaintiff be made whole for

discrimination suffered as the result of a defendant’s actions. See Miranda v. B&B Cash

Grocery Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992) (citing Albemarle Paper Co. v.

Moody, 422 U.S. 405 (1975)). Under Title VII, Congress characterized back pay as a form

of equitable relief. See 42 U.S.C. § 2000e-5(g)(1) (The court may “order such affirmative

action as may be appropriate, which may include, but is not limited to, reinstatement or hiring

of employees, with or without back pay . . . , or any other equitable relief as the court deems

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          The court did not award Garner any backpay or frontpay after the date Searle discovered evidence
indicating that she falsified a physician call report form.

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appropriate.”); Teamsters v. Terry, 494 U.S. 558, 572 (1990); Miranda, supra (citing

Franks v. Bowman Transportation Co., 424 U.S. 747, 763 (1976)). Thus, this court may

award back pay and other appropriate equitable relief in this case.

       (1) An Award of Interest

       Searle argues that the plaintiffs are not entitled to interest because the court rejected

their demand for such relief. Specifically, Searle contends that the court’s order that “Garner

and Karn are entitled to back pay and other back benefits they would have received absent

such discrimination”6 is an implicit denial of the plaintiffs’ demand for interest in this case.

In addition, the defendant argues that the plaintiffs failed to challenge the court’s rejection

of their demand for interest by failing to file a motion for attorney’s fees and expenses or

address the denial of an award of interest in their November 18, 2005, motion to amend. The

plaintiffs, however, argue that the terms “back pay” and “other appropriate relief” as stated

in the court’s opinion include interest by definition.

       In its liability opinion, the court specifically found that, “[a]s victims of sex

discrimination and retaliation, Garner and Karn are entitled to appropriate relief.” (Doc. No.

177, p. 126.) The court also determined that, “subject to the court’s after-acquired evidence

finding with regard to Garner, Garner and Karn are entitled to back pay and other back

benefits they would have received absent such discrimination.” (Id., pp. 126-27.)

       In Loeffler v. Frank, the United States Supreme Court discussed the effect of


       6
           (Doc. No. 177, pp. 126-27.)

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prejudgment interest in Title VII cases as follows:

              The back pay award authorized by § 706(g) of Title VII, as
              amended, 42 U.S.C. § 2000e-5(g), is a manifestation of
              Congress’ intent to make “persons whole for injuries suffered
              through past discrimination.” Albermarle Paper Co. v. Moody,
              422 U.S. 405, 421, 95 S.Ct. 2362m 2373, 45 L.Ed.2d 280
              (1975). Prejudgment interest, of course, is “an element of
              complete compensation.” West Virginia v. United States, 497
              U.S. 305, 310, 107 S.Ct. 702, 706, 93 L. Ed. 2d 639 (1987).
              Thus, since Title VII authorizes interest awards as a normal
              incident of suits against private parties . . . . , it follows that
              respondent may be subjected to an interest award in this case.

486 U.S. 549, 557 (1988).

       Consequently, prejudgment interest is not an added remedy. Rather, it is simply part

of providing full compensation to the injured party. Prejudgment interest, as a legal matter,

is intended to compensate injured parties both for the time value of the lost money as well

as for the effects of inflation. United States v. City of Warren, Mich., 138 F.3d 1083 (6th Cir.

1998). “Money today is not a full substitute for the same sum that should have been paid

years ago.” Matter of Oil Spill by the Amoco Cadiz, 954 F.2d 1279, 1331 (7th Cir. 1992).

“Prejudgment interest, like all monetary interest, is simply compensation for the use or

forbearance of money owed.” Transmatic, Inc. v. Gulton Industries, Inc., 180 F.3d 1343,

1347 (Fed. Cir. 1999). “Prejudgment interest is not awarded as a penalty; it is merely an

element of just compensation.” City of Milwaukee v. Cement Division, National Gypsum,

Co., 515 U.S. 189, 197 (1995).

       An award of prejudgment interest is within the discretion of the court. See Loeffler,


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supra. After careful consideration, the court concludes that an award of prejudgment interest

is appropriate in this case to adjust the back pay award for inflation and reflect the present

day value of income that should have been paid to Garner and Karn in the past.7 See Stone

v. Geico Ins. Co., No. 8:05cv636-T-30TBM, 2009 WL 3720954, *2 (M.D. Fla. 2009). In

other words, prejudgment interest is simply a part of providing full compensation to the

plaintiffs. See Saulpaugh v. Monroe Cmty Hosp. 4 F.3d 134, 145 (2d Cir. 1993) (Title VII

authorizes district court to grant prejudgment interest on back pay award; its purpose is to

prevent employer from attempting to enjoy interest-free loan for as long as it can delay

paying out back wages); Robinson v. Instructional Sys., Inc., 80 F. Supp. 2d 203, 207

(S.D.N.Y. 2000) (employee was entitled to prejudgment interest on back pay award in Title

VII retaliation action against employer; interest would help insure that employee was made

whole, that employer would not profit from any delay in paying wages, and that remedial

purposes of Title VII would be served); Davis v. Rutgers Casualty Ins. Co., 964 F. Supp.

560, 575 (D.N.J. 1997) (“Prejudgment interest in a Title VII case is an equitable remedy

meant to compensate for the plaintiff’s loss of the value of money over time, and to avoid a

windfall to defendant in paying lost wages in current dollars while having enjoyed the use

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          The defendant argues that the reference to the undersigned Magistrate Judge “denied jurisdiction
[to determine] . . . the equitable relief of interest.” Given the court’s findings concerning the violations of
law committed by the defendant with the concomitant necessity of providing appropriate complete relief, the
defendant’s attempt to cabin the court’s ability to provide that relief is specious. The defendant also argues
that the plaintiffs’ consent to the reference to the undersigned is an abandonment of any claim to interest.
This contention is equally specious. The joint motion for the reference gave consent for the Magistrate Judge
to determine among other things “the appropriate relief to be awarded the plaintiffs, and costs and attorney
fees.” The order of reference says the same thing. The argument of the defendant improperly conflates the
issues of liability with the issue of damages.

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of the capital over the years.”); Ford v. Rigidply Rafters, Inc., 984 F. Supp. 386, 391 (D. Md.

1997) (“An award of [prejudgment] interest [on back pay] ensures that inflation does not

consume the value of a back pay award, and ensures that a discriminating employer does not

reap an unfair benefit from ‘the inherent delays of litigation.’”); Iannone v. Frederic R.

Harris, Inc., 941 F.Supp. 403, 413 (S.D.N.Y. 1996) (determining “it is generally an abuse

of discretion not to award interest, since that would reward the employer who has violated

Title VII by effectively providing it with an interest-free loan”)). Thus, this court will

compute prejudgment interest pursuant to 28 U.S.C. § 1961 and consistent with the policy

and practice of the National Labor Relations Board (NLRB) at the applicable IRS prime rate.

See, e.g., Weaver v. Gallardo, Inc., 922 F.2d 1515, 1528 (11th Cir. 1991); McKelvy v. Metal

Container Corp., 854 F.2d 448, 453 (11th Cir. 1988) (citing 28 U.S.C. § 1961); EEOC v.

Guardian Pools, Inc., 828 F.2d 1507, 1512 (11th Cir. 1987) (determining that, consistent with

the policy and practice of the National Labor Relations Board, IRS prime rates are to be used

in calculating the amount of prejudgment interest on back pay awards in Title VII cases);

Baldwin v. City of Prichard, No. CA 07-0789-C, 2009 WL 1211385, * 6 (S.D. Ala. May 4,

2009).

         This court notes that in a typical damages case interest accrues until the date of the

court’s final judgment. The plaintiffs, however, request that interest accrue until the date of

this court’s evidentiary hearing on September 23, 2010. Given the protracted nature of this

case, the court concludes that the plaintiffs’ request to cease the accrual of interest to the date


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of the evidentiary hearing in this case is an appropriate compromise. Consequently, the court

will discontinue the accrual of prejudgment interest on September 23, 2010.

                  (2)      Promotion Liability8

       Garner asserts that she is entitled to $14,399.69 as compensation for Searle’s failure

to promote her between September 1, 1988 to January 31, 1990, based on the pay differential

compared to James Gruber, plus interest through September 23, 2010. (Doc. No. 298, p. 1.)

The defendant argues that Garner is not entitled to damages resulting from Searle’s failure

to promote her because she did not allege in her EEOC charge or her amended complaint that

she was denied a promotion based on gender in violation of Title VII.9 (Doc. 299, p. 12-13.)

       8
           Karn did not raise a failure-to-promote or disparate treatment claim in this case.
       9
           In its pre-trial order, the court identifies the plaintiffs’ claims as follows:

                  . . . The plaintiffs contend that they were discriminated against by the
                  defendant, G.D. Searle and its agent, Joe Flanders, because of their sex in
                  discharge, constructive discharge, evaluations, job assignments, raises,
                  compensation, training, discipline, supervision, assistance, work
                  environment and promotions. The plaintiffs also contend that they were
                  retaliated against for opposition to defendants’ unlawful behavior and/or
                  participation in EEOC proceedings. . . .

                          The plaintiffs contend that they were required to work in a sexually
                  hostile environment which subjected them to severe emotional stress,
                  harassment and abuse. . . .

                             The plaintiffs were paid less than similarly situated males for
                  performing substantially the same duties and responsibilities. The
                  defendant hires women sales representatives at lower salaries than men and
                  at . . . lower job classifications. The defendant further has a discriminatory
                  policy and practice regarding evaluations and pay raises. The defendant’s
                  policy of paying women less for their initial wages causes women to
                  receive lower raises. In addition, the defendant intentionally pays women
                  less for promotions and merit increases than men. The defendant has
                  discriminated against women in promoting men to higher job classifications
                  when similarly situated women are not promoted in a like fashion. . . .

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In addition, Searle contends that the plaintiff failed to demonstrate a prima facie case of a

failure-to-promote claim because the court did not enter a finding that a male employee

received a promotion that she sought in September 1988. (Id., p. 13.) Specifically, Searle

argues that, “[f]rom a proof standpoint, the proper comparator would be the unidentified

sales representative in Florence” because Garner testified in her 2009 deposition that this

individual was the person who received the promotion she had sought. (Doc. No. 299, pp.

13-14.)

        As previously discussed, the undersigned does not have jurisdiction to hear or decide

liability issues or to alter, amend, or otherwise change the court’s liability findings in this

case. In its January 4, 2002, opinion, the court specifically found that Garner asserted a claim

that “with regard to promotions, discipline, and discharge, Searle discriminated against her

because of her sex and in retaliation for filing a complaint with the Equal Employment

Opportunity Commission. . . .” (Doc. No. 177, p. 1.) The court also found as follows:

                         Promotions: Garner was denied a promotion in


                         ...
                         ...
                         Garner was paid less than similarly situated men for performing
                 work of equal skill, responsibility and effort. Garner did not receive
                 promotions when similarly situated men received promotions.
                 Furthermore, Garner’s evaluations were lower than men whose
                 performance was equal to or worse than hers. Garner’s initial job
                 assignment and wages was lower than men who had equal or less
                 qualifications as a sales representative.

(Doc. No. 124, pp. 2-3.) The record does not indicate that the defendant objected to the court’s identification
of the plaintiffs’ claims in it pre-trial order. Consequently, the aforementioned claims, including the
differential treatment and failure-to-promote claims, were presented and argued during the non-jury trial in
March and April of 1993.

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        September 1988 from medical sales representative I, pay grade
        3, to medical sales representative II, pay grade 4. While her
        sales numbers were low, at least two male sales representatives,
        who were in comparable positions, were granted promotions.
        Graham Crosby was promoted in September 1989 from a pay
        grade 3 to a pay grade 4 even though he was not meeting his
        sales budget. According to Searle, it was a “motivational
        promotion” and the personnel document granting the promotion
        points to a positive trend in his territory. However, the sales
        figures on which the promotion was based do not reflect that
        there was a significant increase between when Crosby took over
        his territory and when he received his first promotion. Most
        importantly, if the same criteria used to give Crosby a promotion
        were applied to Garner, she too should have received a
        promotion. The evidence at trial was that when Garner took
        over her territory, sales were very low, and she appeared to have
        turned the territory around to some extent by September 1988,
        when she was denied a promotion.

               Crosby then received a second promotion in February
        1991 to a pay grade 5. It was based on Crosby’s 1990
        performance appraisal in which he was rated “below sales” for
        the second consecutive year. Yet, despite this record he was
        promoted a second time. Frye admitted at trial that it was quite
        unusual to promote a representative who was not meeting
        budget for two years in a row. Even more importantly, Crosby’s
        December 1990 sales figures, which appear in his 1990
        performance appraisal, are quite similar to Garner’s December
        1989 sales figures. However, Garner was terminated on the
        basis of her December 1989 figures, while Cosby was promoted.

               James Gruber received a promotion from pay grade 3 to
        pay grade 4 in November 1990, seven months after [he] was
        hired. Again, the basis for the promotion was that he had
        “reversed a long standing trend” in his territory and was
        “beginning to produce results.” It was also stated that he had
        “the potential to meet budget.” All of the same things, however,
        could have been said of Garner when she was denied her
        promotion.


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                       That Garner’s job performance did not warrant a
                 promotion is pretextual.

(Doc. No. 177, pp. 69-70.) Thus, the court found that both Crosby and Gruber were proper

comparators with respect to Garner’s disparate treatment claim, which includes a failure-to-

promote claim.

       Although Garner’s 2009 deposition indicates that an unidentified male employee

received a promotion, this does not establish that Garner has failed to prove her damages

with respect to her failure-to-promote or disparate treatment claim. Searle relies on Brown

v. Alabama Dep’t of Transportation, 597 F.3d 1160 (11th Cir. 2010), when arguing that

Garner is not entitled to damages because she failed to prove that a male employee received

a promotion that she sought in 1988. In Brown, the court held that a plaintiff in a failure-to-

promote case must demonstrate that other employees of similar qualifications who were not

members of a protected group were promoted at the time the plaintiff’s request for a

promotion was denied. 597 F.3d at 1179. Brown, however, involved the promotion of

employees to new or open positions within the Alabama Department of Transportation. The

liability findings of the court, however, indicate that promotions at Searle were not vacancy

driven but were a natural progression through pay grades and ranges based on performance.10

       10
            The Court determined:

               Sales performance is also the most important factor in determining merit pay raises
       and promotions. Merit pay raises, which affect a sales representative’s salary within a
       particular grade, are based on a representative’s annual evaluation and overall performance
       rating, which . . . is tied primarily to a representative’s sales performance. Similarly,
       promotional raises, which affect a sales representative’s pay grade, are based principally on
       sales performance.

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Thus, it was unnecessary for the plaintiff to name the employee who received a promotion

in 1988. See Walker v. Mortham, 158 F.3d 1177, 1186 & n. 15 (11th Cir. 1998) (discussing

the test for a prima facie case as set forth in McDonnell Douglas Corp. v. Green, 411 U.S.

792, 802 (1973), and noting that “this original formulation allows a plaintiff to establish her

prima facie case without even showing that another person was hired for the job, let alone

anything about the successful applicant”).

        Garner asserts that Gruber is the proper comparator with respect to her disparate

treatment claim.11 Garner compares the differences between her pay and Gruber’s quarterly

pay when calculating damages. The defendant argues that, if Gruber is used as a comparator

to determine relief, the salary increase Gruber received when he was promoted, rather than

comparative total salaries, would be the proper number to use. The court specifically found

that Garner was subjected to disparate treatment, including the failure to promote.

Specifically, the Court determined that Garner was “subject to disparate treatment with

regard to promotions, discipline, and discharge in violation of Title VII.” (Doc. No. 177, p.

2.) Given the Court’s determination that Gruber’s promotion to Pay Grade 4 is the proper


                 Searle pays its medical sales representatives according to five pay grades. The
        lowest pay grade for sales representatives is 3, and the highest pay grade is 7. Within each
        pay grade there is a salary range. Merit raises increase a representative’s salary within a
        particular pay grade, which promotional raises move a representative from one pay grade
        to the next. A different title accompanies each pay grade.

(Doc. No. 177, pp. 6-7.)
        11
          In their pleadings concerning damages (Doc. Nos. 298, 299, & 302), neither the plaintiffs nor the
defendant consider Crosby as a comparator. Therefore, for purposes of this opinion, this court will compare
Garner’s and Gruber’s salaries when calculating back pay.

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benchmark for Garner’s disparate treatment claim, this court will calculate the amount of

back pay by determining the difference in earnings between Garner and Gruber on a quarterly

basis. See Kendrick v. Jefferson County Bd. of Educ., 13 F.3d 1510, 1513 (11th Cir. 1994)

(holding that, in general, Title VII damages are calculated on a quarterly basis).

       Accordingly, the court finds the difference in earnings between Garner and Gruber

on a quarterly basis as follows:



                                    Gruber         Garner                Total

       09/01/88 to 09/30/88         $2747.90        $2373.14             $374.76

       10/01/88 to 12/31/88         $8250.06        $7124.91             $1125.15

       01/01/89 to 03/31/89         $8250.06        $8250.06               -0-

       04/01/89 to 06/30/89         $8250.06        $8250.06               -0-

       07/01/89 to 09/30/89         $8250.06        $8250.06               -0-

       10/01/89 to 12/31/89         $8250.06        $8250.06               -0-

       01/01/90 to 03/31/90         $2747.90        $1239.90             $1508.00

       Consequently, when calculating actual earnings, Garner is entitled to a total of

$3007.91 in back pay, as well as prejudgment interest, with respect to her Title VII failure-to-

promote claim.

              (3)     Discharge Liability

       Garner asserts that, after subtracting interim earnings and other mitigation, she is


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entitled to $305,871.39 of back pay. Garner bases her calculation on the difference in pay

between herself and Gruber through the date of her discharge on January 31, 1990, until the

date of trial on March 22, 1993, as well as interest through the date of the September 23,

2010 evidentiary hearing before this court.12 Karn also asserts that, after subtracting interim

earnings and other mitigation, she is entitled to $816,887.00 of back pay. Karn’s calculation

is based on the difference in pay between herself and Joe Gagliano through the date of her

constructive discharge on June 15, 1989 until her decision to stop seeking employment in

pharmaceutical sales on December 31, 1998, as well as interest through the date of the

September 23, 2010 evidentiary hearing.

        In Kendrick v. Jefferson County Bd. of Educ., 13 F.3d 1510 (11th Cir. 1994), the Court

discussed the appropriate damages formula to apply in wrongful termination cases.

                        The situation presented arises in a wrongful termination
                or refusal to hire case when the prevailing plaintiff had, during
                some but not all of the relevant damages period, income from a
                new job that exceeded that which she would have earned at the
                terminated or denied job. The question is how the new
                employment income is to be offset against lost wages from the
                old job. The Supreme Court addressed this question forty years
                ago in NLRB v. Seven-Up Bottling Co., 344 U.S. 344, 73 S.Ct.
                287, 97 L. Ed. 377 (1953). The Seven-Up Court reversed the
                court of appeals, which had adopted an aggregate pay approach,
                and instead upheld the National Labor Relations Board rule that
                offsetting should be done on a quarterly basis. The Court
                approved the following formula:

                        Loss of pay shall be determined by deducting

        12
          The District Court ordered that Garner should not be awarded any back pay or front pay after the
date Searle discovered her misrepresentation on a physician call report. (Doc. No. 177, p. 76.)

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                      from a sum equal to that which [the employee]
                      would normally have earned for each such quarter
                      or portion thereof, [her] net earnings, if any, in
                      other employment during that period. Earnings in
                      one particular quarter shall have no effect upon
                      the back-pay liability for any other quarter.

              Id. at 345, 73 S.Ct. at 288 (citation omitted). . . .

                       Thirty years after Seven-Up, this Court adopted for Title
              VII cases the quarterly earnings formula from the NLRA case
              law. In Darnell v. City of Jasper, 730 F.2d 653 (11th Cir. 1984),
              . . . [the Court] explained:

                      Although we have discovered no cases applying
                      the “quarterly earnings formula” in the context of
                      a Title VII action, we conclude that such a
                      formula more faithfully serves the remedial
                      objectives of Title VII and, in any case, promotes
                      the consistent application of back pay awards
                      rendered under both Title VII and the NLRA.

              Id. at 657.

Kendrick, 13 F.3d at 1513.

                      (a) Mitigation of Damages. A majority of the post-hearing briefs are

devoted to the issue of mitigation; consequently, so is a large part of this opinion. Therefore,

before determining the sum that Garner or Karn would normally have earned for each pay

period, this court must determine whether the plaintiffs mitigated their damages. Title VII

provides that “[i]nterim earnings or amounts earnable with reasonable diligence by the person

or persons discriminated against shall operate to reduce the back pay otherwise allowable.”

42 U.S.C.A. § 2000e-5. Therefore, once a plaintiff makes a showing that she is entitled to


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damages resulting from the discriminatory acts of an employer, the burden shifts to the

employer to prove that the claimant is not entitled to the full amount of back pay sought.

Brown v. Alabama Dept. Of Transp., 597 F.3d 1160, 1183 (11th Cir. 2010); Nord v. U.S.

Steel, 758 F.2d 1462, 1470 (11th Cir. 1985). The defendant’s burden can be met by the

production of evidence establishing the amount of interim earnings received by the claimant,

or through evidence showing that the claimant failed to exercise diligence in searching for

or retaining interim employment. Nord, 758 F.2d at 1470.

       Searle contends that Garner is entitled to no more than three weeks of back pay

because she accepted a comparable sales position at Delta Foremost, and she was largely

satisfied with the position.13 Searle also argues that Garner failed to mitigate her damages

by using reasonable diligence to find substantially equivalent employment.

                       . . . “Substantially equivalent employment” is
               employment that affords virtually identical promotional
               opportunities, compensation, job responsibilities, working
               conditions, and status to those available to employees holding
               the position from which the Title VII claimant has been
               discriminatorily terminated. If the former employee cannot find
               substantially equivalent employment, he may “lower his sights”
               and accept noncomparable employment. Title VII, however
               “does not require that a person remain employed despite
               dissatisfaction.”

Weaver v. Casa Gallardo, Inc., 922 F.2d 1515, 1527 (11th Cir. 1991).

       Searle has the burden of showing that Garner did not make reasonable efforts to obtain



       13
          Searle does not challenge Garner’s mitigation efforts during the three week period before
beginning her new job at Delta Foremost. (Doc. No. 299, p. 22.)

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comparable work. When discussing the duties of sales representatives at Searle, the District

Court found the following:

                     The primary responsibility of all of Searle’s sales
              representatives is to call on doctors, hospitals, retail pharmacies,
              and drug wholesalers in order to promote the prescription and
              use of Searle products within their territory. Each sales
              representative is expected to be fully versed in Searle’s products
              and capable of comparing and contrasting the pharmacologic
              characteristics of Searle’s products with competing products in
              the market. A sales representative’s duties include arranging for
              physicians to attend special instructional seminars that promote
              Searle’s products. . . .

(Doc. No. 177, pp. 3-4.)

       The evidentiary materials indicate that Garner’s duties at Delta Foremost included

selling industrial cleaning products to local car dealerships, manufacturing companies,

nursing homes, and hospitals. (Def’s Ex. 14, Garner’s October 1990, Dep., p. 26.) Searle

argues that Garner’s isolated statement during her deposition that her position at Searle and

her job at Delta Foremost were “comparable” establishes that she is not entitled to back pay.

Specifically, Searle contends that “Garner’s acceptance of comparable, satisfactory

employment for 161 of the 164 weeks spanning the discharge date and the end of [her] back

pay period disproves entitlement to make-whole relief for those 161 weeks.”

       Although both positions are “comparable” to the extent they involved the sale of a

product, the court finds that there are more differences than similarities between Garner’s

pharmaceutical sales position at Searle and her industrial-product sales position at Delta

Foremost. First, selling heavy industrial cleaning products to car dealerships is substantially

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different from the sale of pharmaceutical products to physicians in a medical environment.

Secondly, Garner’s position at Delta Foremost included some manual labor, including

carrying heavy commercial cleaning products from one dealership to another. Plainly,

Garner’s job as a sales representative at Delta Foremost did not hold the same status as her

position as a pharmaceutical representative at Searle. More importantly, the compensation

at Delta Foremost was substantially less than the salary Garner could have received at Searle

during the same time period. Garner’s acceptance of employment as a sales representative

in an entirely different industry when no full-time pharmaceutical jobs were available is a

significant factor demonstrating that Garner used reasonable efforts to mitigate her damages

in this case. This court therefore concludes that Garner mitigated her damages by lowering

her sights and accepting a sales position in the industrial cleaning product industry.

        Moreover, Searle has failed to overcome its burden of demonstrating that Garner

failed to exercise diligence is searching for or retaining interim employment. There is no

evidence indicating that other comparable sales positions were available in the

pharmaceutical industry at the time Garner sought employment. See Weaver, 922 F.2d at

1527. Furthermore, Garner testified that she sent her résumé to numerous businesses and

sought other employment while working at Delta Foremost.14 (Def’s Ex. #7, p. 7; Def’s Ex.

        14
           The court recognizes the possibility that “[a]t best, Garner applied for only eight jobs in the five
year period from 1991 through 1996, or slightly less than two job applications per year.” (Doc. No. 299,
Def’s Brief, p. 25.) Nonetheless, because Garner accepted a sales job at Delta Foremost and the defendant
has failed to point to evidence indicating that any comparable pharmaceutical sales positions were available
in the area during the relevant time period, the court finds that the defendant failed to overcome its burden
of proving that Garner did not make reasonable efforts to obtain employment or otherwise mitigate her
damages.

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#10, p. 84; Def’s Ex. # 12, p. 20; Def’s Ex. # 14, pp. 23-25.) This court therefore concludes

that Garner reasonably mitigated her damages during the period between her constructive

discharge on June 15, 1989 until the date of trial on March 22, 1993.15

        Next, the court must decide whether Karn mitigated her damages in this case. Karn

asserts that she is entitled to back pay between the date of her constructive discharge on June

15, 1989, and the date she decided to discontinue her efforts to find a pharmaceutical sales

position on December 31, 1998. Searle contends that Karn is not entitled to back pay

because she failed to mitigate her damages. Specifically, Searle argues that Karn’s

acceptance of a part-time sales position followed by her decision to stop working after having

a child demonstrates that Karn is not entitled to back pay. Karn, however, maintains that she

obtained a new job within a week after her constructive discharge and that she remained

employed during 221 of the 234 weeks of the relevant time period. She also contends that,

although she sought full-time employment, she was unable to secure an available full-time

job during the economic recession. In addition, Karn contends that Searle has failed to

present any affirmative evidence demonstrating that other better-paying jobs were available

and that she would have been hired for those jobs.

        The record indicates that Karn applied for several positions, both part-time and full-


        15
          The District Court ordered that Garner may not recover any back or front pay occurring after the
date Searle discovered Garner’s misrepresentation. (Doc. No. 177, pp. 76-77.) This court, however, is
unable to determine the specific date Searle discovered the misrepresentation. Because the discovery was
made during the course of litigation and shortly before or during the time of trial, the court will assume for
purposes of this opinion that the defendant discovered the misrepresentation on the day of trial on March 22,
1993.

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time employment, during the relevant time period. Within one week after her discharge,

Karn sought full-time employment with Whitehall Pharmaceuticals. (Def’s Ex. 13, Karn’s

October 1990 Dep., p. 204.) A full-time position, however, was unavailable. Whitehall

Pharmaceuticals offered Karn a part-time position, which she accepted. In June 1989, Karn

began working part-time at Whitehall Pharmaceuticals with a salary of $18,000. (Pl’s Ex.

138; Def’s Ex. 13, p. 204.) During her employment with Whitehall, she received a car

allowance, automobile insurance and a retirement plan. (Def’s Ex. 13, p. 207.) Toward the

end of August 1990, Whitehall Pharmaceuticals laid-off all of its part-time employees.

(Def’s Ex. 13., p. 208.) Thus, Karn worked at White-Hall Pharmaceuticals for a total of

fifteen (15) months. (Pl’s Ex. 121, 138; Def’s Ex. 9, Karn’s October 8, 2009 Dep., p. 31.)

       Between August and November of 1990, Karn sent résumés to several pharmaceutical

companies and other businesses seeking full-time employment. (Attach. to Def’s Ex. 8;

Def’s Ex. 13, p. 211.) Although a full-time position was unavailable, Karn accepted a part-

time position in retail at Warner Lambert, beginning work on November 5, 1990. (Def’s Ex.

13, p. 209.) Warner Lambert paid Karn $10 per hour and provided a car allowance, disability

insurance, and retirement benefits. (Def’s Ex. 13, p. 210.) Karn worked twenty (20) hours

per week for four or five months. (Def’s Ex. 13, pp. 43, 48.) She stopped working at Warner

Lambert in January 1991. (Def’s Ex. 13, p. 50.)

       Shortly thereafter, Karn applied for pharmaceutical sales positions at Dow B.

Hickman Pharmaceuticals, TAP Pharmaceuticals, Pfizer Corporation, General Medical


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Corporation, as well as other sales positions with Gerber Products, Innisbrook Wraps,

General Food USA, and Validata Computer and Research Corporation. (Pl’s Ex. 75; Def’s

Ex. 1, Post-Trial Doc. 124; Pl’s Exhs. 13-19.) In February 1991, Karn began working full

time as a marketing director for Central Alabama Nursing Services with a salary of $28,000.

(Def’s Exh. 9, p. 50; Def’s Ex. 11, p. 23.) Although she did not receive fringe benefits, such

as a car, health benefits, or a retirement benefits, the company reimbursed her for gas and

mileage. (Def’s Exh. 9, p. 47.) Karn left her position at Central Alabama Nursing Services

for a better job at Boehringer Mannheim (“Boehringer”), a medical supply company, in July

1991. (Def’s Ex. 9, p. 50, 53-54; Def’s Ex. 11, p. 24-25.)

        At Boehringer, Karn received “the whole package deal,” including a car, gas, health

insurance, and retirement benefits, as well as a starting salary of approximately $35,000.

(Def’s Ex. 9, p. 56; Def’s Ex. 11, pp. 33-34.) In 1992, Karn received a bonus, earning a total

of $52,330. (Def’s Ex. 9, p. 59.) On or around June 1993, Boehringer moved its territory

from Alabama to Florida. (Def’s Ex. 9, pp. 59-60.) Because Karn did not wish to relocate

to Florida, she stopped working at Boehringer in June 1993. (Def’s Ex. 9, p. 61.) Due to the

relocation, Boehringer provided Karn with a severance package through May 31, 1993.16

        16
           In most cases, the period of time for which back pay is calculated begins on the date the plaintiff
is discharged and ends on the day when she finds full-time equivalent employment elsewhere. See, e.g.,
Stallworth v. Shuler, 777 F.2d 1431 (11th Cir. 1985) (affirming court’s judgment that defendant who was not
considered for position of school superintendent should be awarded back pay from a date 2 years prior to
filing of his complaint with the EEOC to the date 7 years later when he accepted the post of principal of a
school); Edwards v. J. C. Penney Co., No. C-80-1024-A, 1981 WL 309, *6 (N.D. Ga. 1981). In this case,
the court finds that it would be inequitable to stop the back pay award on the date Karn began work at
Boehringer. Karn was laid off from Boehringer through no fault of her own for economic reasons,
specifically the reorganization of Boehringer’s territory. Accordingly, it is not appropriate to stop Searle’s

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(Attach. to Def’s Ex. 1.)

        In October 1993, Karn sent her résumé to Syncom Pharmaceuticals in response to an

advertisement in the newspaper for an available flex-time position. (Pl’s Ex. 60; Def’s Ex.

9, Pl’s Dep., pp. 71, 73.) She also sent her résumé to Kimberly Quality Care, a nursing

company. (Attach to Def’s Ex. 1; Def’s Ex. 9, pp. 74-75.) Between October 1993 and

December 1993, Karn worked full time as a nurse for a group of doctors. (Def’s Ex. 9, p.

62.) She stopped working in December 1993 when her third child was born. (Def’s Ex. 9,

p. 68.) During her deposition, Karn stated that she chose not to work for six weeks to take

care of her newborn baby, but that she “did not quit forever.” (Def’s Ex. 9, p. 68.)

        In January 1994, Karn answered several want-ads from the Montgomery Advertiser

newspaper by applying for positions as a project director at Family Services Center, a health

care liaison for EDS, an account executive for Southeast Health Plan, a sales associate at

Solvay Animal Health, an admissions officer at a local college, a beauty advisor at Gayfers,

a sales representative at AMRE, and a pharmaceutical sales representative at Boehringer

Ingelheim. (Pl’s Ex. 76; Attach. to Def’s Ex. 1, p. 125.) In February 1994, Karn applied for

an advertised part-time sales position at Kimberly Clark Corporation. (Attach. to Def’s Ex.

1, p. 126.)



back pay liability on the date Karn received a comparable job at Boehringer. See EEOC v. Fotios, 671
F.Supp. 454, 460 (W.D. Tex. 1987) (court held it would be inequitable to end plaintiff’s back pay eligibility
on the day she first obtained new job where plaintiff was laid off from the position through no fault of her
own, but deducted interim earnings she made during the extended period from the back pay awarded).


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       During one month in 1994, Karn worked part-time in a temporary position for Dr.

Porter, earning $966.00. (Def’s Ex. 9, Pl’s Dep., p. 68; Def’s Ex. 9, Job Application List.)

On or around March 1994, Karn applied for a sales position in the Memphis District at

Boehringer Ingelheim, as well as a position as a contract negotiator for Health Star, Inc., and

an association coordinator for T.R. McDougal & Associates in Montgomery, Alabama. (Pl’s

Ex. 69-70; Def’s Ex. 1, Post-Trial Doc. Nos. 118-19, 127.) In April 1994, Karn applied for

a flex-time position with Syncom Pharmaceuticals, Inc. (Attach. to Def’s Ex. 1.) On August

19, 1994, Karn re-applied for a flex-time position with Syncom Pharmaceuticals. (Id.) On

November 8, 1994, Karn applied for a community relations position at Care One. (Pl’s Ex.

138; Attach. to Def’s Ex. 1; Def’s Ex. 9, Job Application List.)

       Around this time, Karn decided that it did not make economic sense to work in a part-

time position and pay for three children to attend daycare. (Def’s Ex. 9, Pl’s Dep., pp. 74,

77-78.) Karn, however, asserts that she “would have taken a full-time job ... with benefits

[and a] company car.” (Id., p. 78.) The court has no reason to doubt Karn’s intentions in

this regard, especially in light of substantial evidence indicating that she continued to

exercise diligence in searching for employment.

       On March 15, 1995, and April 5, 1995, Karn re-applied for available sales positions

at Syncom Pharmaceuticals. (Attach. to Def’s Ex. 1.) In May 1995, Karn applied for a part-

time position at Professional Detailing Incorporated, a marketing service. (Pl’s Ex. 138;

Attach. to Def’s Ex. 1; Def’s Ex. 9, Pl’s Dep., p. 82; Def’s Ex. 9, Job Application List). In


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October 1995, Karn applied for pharmaceutical sales positions at Abana and Merck

Pharmaceuticals. (Pl’s Ex. 66; Def’s Ex. 1, Post-Trial Doc. 115.)

       In September 1995, Karn applied for a full-time sales position at EDS, a business

product company, and a nursing position with Hill-Rom, a home care company. (Pl’s Ex. 62;

Def’s Ex. 9, Pl’s Dep., pp. 84-85.) In November 1995, Karn began working as a part-time

sales representative for Professional Detailing Incorporation hired Karn. (Pl’s Ex. 120;

Def’s Ex. 9, Job Application List.) Between November and December of 1995, Karn earned

$2382.00. (Id.) Between January and July of 1996, Karn earned $12,890.00. (Id.) The

corporation reorganized and Karn was placed on laid-off status on July 31, 1996. (Attach.

to Def’s Ex. 1.)

       In January 1997, Karn applied for sales positions at Innovex and Ortho-McNeil

Pharmaceutical. (Pl’s Ex. 64; Def’s Ex. 1, Post-Trial Doc. 113.) In August 1997, Karn

applied for a pharmaceutical sales position with UBC Pharma in Birmingham, Alabama, as

well as ASTRA, USA. (Pl’s Ex. 122, 124; Def’s Ex. 9, Job Application List.) She also sent

her résumé to Innovex, Ortho-McNeil Pharmaceutical, and Hoechst. (Pl’s Ex. 123-24; Def’s

Ex. 9, Job Application List.) On or around September 1997, Karn interviewed for a position

at Hoechst Marion Roussel, Inc. (Attach. to Def’s Ex. 1.) On October 31, 1997, Karn faxed

her résumé to The American Red Cross, The Merchandising Team, Sales Consultants of

Boston, and Don Hulling, RSM. (Pl’s Ex. 138, 148-151; Def’s Ex. 9, Job Application List.)




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       From the foregoing recitation, it is obvious that substantial evidence in the record

demonstrates that Karn diligently sought to mitigate her damages in this case by searching

for and retaining employment. Searle’s argument that Karn is not entitled to back pay

because she sought part-time employment lacks merit. The evidence demonstrates that the

majority of the advertised pharmaceutical or other similar jobs available at the time were

part-time positions and that Karn diligently sought both part-time and full-time positions

during the relevant time period. Although Searle argues that there are gaps in Karn’s job

search and employment history, the defendant has failed to point to any evidence indicating

that interim employment was available during those times or that it otherwise met its burden

of proving that Karn failed to exercise diligence in searching for or retaining interim

employment. See Nord, 758 F.2d at 1470.

       Karn, however, does concede that she did not intend to work during the six weeks

after the birth of her third child. Because Karn would have been covered under the Family

Medical Leave Act, 29 U.S.C.A. § 2601, et seq., and would have been eligible to take leave

without pay if she had remained at Searle, the court concludes that back pay during the six-

week period between January 1, 1994, and February 12, 1994, shall be deducted from this

court’s back pay calculation. This court therefore concludes that, with the exception of the

aforementioned six-week pay-period, Karn is entitled to the full amount of back pay, less any

interim earnings.




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                      (b)    Salary Comparisons

       Because the court found that Garner was subject to disparate treatment with regard

to promotions, discipline, and discharge in violation of Title VII, the court must now

determine what Garner “would have earned had she not been the victim of discrimination,

and must subtract from this figure the amount of actual interim earnings.” EEOC v. Joe’s

Stone Crab, Inc., 15 F. Supp. 2d 1364, 1378 (S.D. Fla. 1998). Thus, the court will compare

Garner’s actual interim earnings with Gruber’s salary at Searle when determining what she

would normally have earned for each quarter between the date of her termination on January

31, 1990 and the date of trial on March 22, 1993, and shall subtract any interim earnings

from this amount.

       This court must also determine the salary Karn would have received at Searle had she

not been constructively discharged in violation of Title VII. Searle argues that Karn’s

proposed back pay chart is factually and legally incorrect. Specifically, Searle contends that

Karn is not permitted to use Gagliano’s pay rate as a comparison because she did not bring

a Title VII disparate pay claim against the defendant. The record indicates that, although

Karn raised a claim that the defendant violated the Equal Pay Act, she did not raise a Title

VII disparate treatment pay claim in her complaint or amended complaint. (Doc. Nos. 1 &

61.) In addition, the Court did not conclude at any point in its liability opinion that Karn was

subject to disparate treatment with regard to pay in violation of Title VII. (Doc. No. 177.)

But that doesn’t matter.


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       In Crabtree v. Baptist Hospital of Gadsden, Inc., 749 F.2d 1501 (11th Cir. 1985), the

plaintiff asserted violations of both the Equal Pay Act and Title VII. The plaintiff’s Title VII

claim complained only of unlawful discharge and not of salary violations. The Court held:

              The sex discrimination provisions of Title VII must be read in
              harmony with the Equal Pay Act. Orr v. Frank R. MacNeill &
              Son, Inc., 511 F.2d 166, 170 (5th Cir.) cert. dismissed 423 U.S.
              865, 96 S.Ct. 125, 46 L. Ed. 2d 94 (1975). Basing a back pay
              award under Title VII on a salary found to violate the Equal Pay
              Act would ignore both Title VII’s purpose of making victims
              whole for economic losses suffered through past discrimination
              and the requirement that Title VII and the Equal Pay Act be read
              in harmony.

Crabtree, 749 F.2d at 1503. Thus, Karn argues that the Title VII back pay award should be

based on Gagliano’s higher salary which the Court determined she should have been paid

under the Equal Pay Act, and the court agrees. This court, therefore, will compare Karn’s

actual interim earnings with Gagliano’s salary at Searle when determining what she would

have normally earned for each quarter between the date of her discharge on June 15, 1989

to the date she chose to stop seeking employment in pharmaceutical sales on December 31,

1998, and shall subtract any interim earnings from this amount.

                      (c)    Fringe Benefits

       The defendants initially argued that the plaintiffs were not entitled to damages for

fringe benefits because they failed to present sufficient proof regarding their value. During

the evidentiary hearing, however, the parties stipulated that the total monthly value of fringe

benefits at Searle is $755.00. (Transcript of September 23, 2010, evidentiary hearing, Doc.


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No. 295 at 3-4) Thus, the court will calculate an award of damages by applying the amounts

as stipulated by the parties, less the amount of any actual interim benefits.

       Because the object of the back pay provisions of Title VII is to make employees whole

for losses suffered due to unlawful discrimination, fringe benefits should be included when

calculating back pay. Walker v. Ford Motor Co., 684 F.2d 1355, 1364 (11th Cir.1982); 29

U.S.C. § 2617(a)(1)(A)(i)(I). In this case, there is no evidence that Garner received any

fringe benefits during her employment at Delta Foremost. Therefore, Garner is entitled to

an award of the value of fringe benefits between February 1, 1990 and March 22, 1993.

       Karn concedes that she received equivalent benefits during her employment at

Boehringer. (Doc. No. 302, p. 30, n. 7.) The evidentiary materials indicate Karn was

employed and/or received severance pay with benefits at Boehringer between July 1, 1991

and March 31, 1993. Consequently, the equivalent value of fringe benefits during Karn’s

employment at Boehringer should be deducted when calculating the total amount of

damages. The court further concludes that Karn is entitled to receive the value of fringe

benefits between June 15, 1989 through June 30, 1991, and between June 1, 1993 through

December 31, 1998.

       C.     Tax Consequences

       The plaintiffs request that this court include a tax component as part of the damages

award to compensate for their additional tax liability as a result of receiving twenty years of

back pay and/or interest in one lump sum. (Doc. No. 298, p. 25.)


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        Back pay awards are taxable under the Internal Revenue Code. United States v.

Burke, 504 U.S. 229 (1992). For income tax purposes, the IRS treats all back pay as wages

in the year paid. See IRS Publication 957, http://www.irs.gov/publications/p957/ar02.html.

Certainly, other courts have approved an award to offset the negative tax consequences of

a back pay award. See Eshelman v. Agere Sys., Inc., 554 F.3d 426, 441-43 (3rd Cir. 2009);

Sears v. Atchison Topeka & Santa Fe Ry., 749 F.2d 1451, 1456 (10th Cir. 1984). Searle

argues that there is no controlling law in this Circuit which would substantiate an upward

adjustment of the plaintiffs’ damages award due to tax consequences.17 (Doc. No. 299, p.

32.) Searle is correct that no decision of the Eleventh Circuit authorizes a judgment to

account for negative tax consequences that result from a lump sum award of back pay. But

no case prohibits either.

        The difficulty here is not whether the law permits this type of award; rather, the

problem is the lack of an evidentiary foundation for the court to make the necessary

calculation. The plaintiffs suggest that the court apply a percentage increase of varying

amounts seemingly based on tax tables. But the plaintiffs offer no evidence to support the

legitimacy of this approach. Notwithstanding what the court said earlier about uncertainty,

rank speculation is not the same, an the court is not inclined to engage in a purely speculative

task of determining and then offsetting the plaintiffs’ future tax liability. Cf. O’Neill v.



        17
         Searle also argues that awarding a tax adjustment would exceed the jurisdiction conferred upon this
court because the court did not award this relief in its liability opinion. Given the court’s conclusion, this
argument will not be addressed.

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Sears, Roebuck & Co., 108 F. Supp. 2d 443, 448 (E.D. Pa. 2000) (finding award for back pay

under ADEA appropriate where plaintiff supported her request with testimony from a

financial consultant). See EEOC v. Joe’s Stone Crab, 15 F. Supp. 2d 1364, 1380 (S.D. Fla.

1998) (determining plaintiff failed to provide sufficient competent foundation evidence to

permit the court to make the calculations). See also Hukkanen v. International Union of

Operating Engineers, Hoisting & Portable Local No. 101, 3 F.3d 281 (8th Cir. 1993)

(plaintiff failed to present a convenient way for the court to calculate the amount at the time

the court announced judgment). In the absence of an evidentiary basis supporting a

methodology for crafting an appropriate award, the court declines to award money damages

to offset whatever increased tax liability the plaintiffs will experience by receiving a lump

sum award.

                                 C. Damages Calculations

       The court bases its damage calculations with respect to Garner on the following:

       1.     Garner is entitled to an award of $2100 as well as an additional amount of
              $2100 in liquidated damages with respect to her Equal Pay Act claim.
       2.     With respect to her Title VII claims, Garner is not entitled to any back pay
              after the date Searle discovered evidence indicating that she falsified a
              physician call report form. For purposes of this opinion, the court presumes
              the discovery occurred on the date of trial, March 22, 1993.
       3.     Garner is entitled to an award of back pay, including the value of fringe
              benefits and pre-judgment interest with respect to her Title VII claims.
       4.     The amount of interim earnings and benefits shall be subtracted from the back
              pay calculation.
       5.     Damages ceased to accrue on March 22, 1993. However, prejudgment interest
              accrued until September 23, 2010.



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                         1988       1989      1990        1990       1991       1992         1993
                                            01/01/90    04/01/90                            01/01/93
                                             to          to                                   to
                                            03/31/90    12/31/90                            03/22/93


Promotion Liability    1,499.91      -0-    1,508.00        n/a        n/a        n/a        n/a

Comparator Salary       n/a          n/a      n/a       24,891.73   35,749.84   37,412.44   8,844.24

Fringe Benefits         n/a          n/a    1,590.00    6,795.00     9,060.00    9,060.00   2,090.77

(Interim Earnings)      n/a         n/a     (1,239.90) (11,167.65) (8,642.92)   (7,723.04) (1,251.24)

Title VII Damages     1,499.91       -0-    1,778.10    20,519.08   36,166.92   38,749.40 9,683.77

        Using the NLRA methodology, Garner requests $432,090.85 in prejudgment interest.

The court has reviewed Garner’s calculation of interest and concludes that this amount is

appropriate and should be awarded based on her back pay award of $108,397.18.

        This court concludes that Garner is entitled to the following award:

                         Title VII         $108,397.18

                  +      Interest          $432,090.85

                         Subtotal          $540,488.03

                  +      EPA               $4200.00

                         Total             $544,688.03.

        The court bases its damages calculations with respect to Karn on the following:

        1.        Karn is entitled to an award of $1250 as well as an additional amount of $1250
                  in liquidated damages with respect to her Equal Pay Act claim.
        2.        Karn is entitled to an award of back pay, including the value of fringe benefits,
                  and prejudgment interest with respect to her Title VII claims.
        3.        The amount of interim earnings and benefits shall be subtracted from the back

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                           pay calculation.
                  4.       Karn is not entitled to back pay between January 1, 1994 and February 12,
                           1994, the six-week period she chose not to work due to the birth of her child.
                  5.       Damages ceased to accrue on December 31, 1998. However, prejudgment
                           interest continued to accrue until September 23, 2010.

                  1989     1990        1991       1992       1993       1994          1995    1996      1997      1998
                  06/15/89
                  to
                  12/31/89

Comparator
Salary            18,046.24 35,750.16 36,799.88 38,637.04 40,568.84 42,597.36 44,727.28 52,525.99 63,500.32 63,500.32

Fringe Benefits   4,878.46 9,060.00   9,060.00    9,060.00   2,265.00      9,060.00    9,060.00 9,060.00 9,060.00 9,060.00

(Interim
 Earnings)        (7,925.40) (12,842) (34,116.16) (38,637.04) (38,228.84) (966.00) (2,382.00) (12,890.00) - 0 -    -0-

(Interim Benefits) - 0 -     -0-      (4,530.00) (9,060.00) (2,090.77)      -0-         -0-       -0-      -0-      -0-

(Leave without
 Pay)             n/a        n/a       n/a         n/a         n/a       (5,324.67)     n/a      n/a       n/a      n/a

TITLE VII
Damages           14,999.30 31,968.00 11,743.72     -0-      2,514.23    45,366.69    51,405.28 48,695.99 72,560.32 72,560.32


                  Karn requests $1,040,843.90 in prejudgment interest. Because Karn is not entitled to

         back pay with respect to the six-week period in which she was eligible for leave without pay

         under the Family Medical Leave Act, the amount of her award of prejudgment interest shall

         be reduced. According to Karn’s assessment of the NLRB interest rates calculated through

         September 23, 2101, prejudgment interest on $5324.67 is $17,014.10. This court therefore

         concludes that $1,023,829.80 in prejudgment interest is appropriate based on her Title VII

         back pay award of $351,813.85.

                  The court concludes that Karn is entitled to the following award:

                                   Title VII        $351,813.85

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             +       Interest     $1,023,829.80

                     Subtotal     $1,375,643.60

             +       EPA          $2500.00

                                  $1,378,143.60

      The court will enter a separate final judgment for Garner and Karn and against Searle

for these damages.

      Done this 14th day of February, 2013.



                                       /s/Charles S. Coody
                                  CHARLES S. COODY
                                  UNITED STATES MAGISTRATE JUDGE




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